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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re:                                                     Case No. 21-42842 (NHL)

RICONDA MAINTENANCE, INC.,                                 Chapter 7

                                 Debtor.

        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF DOCUMENTS

          PLEASE TAKE NOTICE, that pursuant to Rules 2002, 9007 and 9010(b) of the Federal

Rules of Bankruptcy Procedure, and 11 U.S.C. §§ 102(1) and 1109(b), the undersigned attorney

appears for 330 Third Avenue Owners Corp., a creditor and interested party in the above-captioned

case.

          NOTICE IS HEREBY GIVEN that Jason L. Libou, Esq. requests that all notices given or

required to be given in the above-captioned proceeding, including but not limited to, all papers filed

and served in all adversary proceedings in such cases, and all notices mailed only to the statutory

committees or their authorized agents, as such may be duly appointed or designated, and to creditors

and equity security holders who filed with the Court and request that all notices be mailed to him, be

given to and served upon Jason L. Libou, Esq. at the following office and telephone number:


                                       Wachtel Missry LLP
                                     885 2nd Avenue, 47th FL.
                                      New York, NY 10017
                                    Telephone: (212) 909-9500
                                     Telefax: (212) 909-9443

          NOTICE IS HEREBY GIVEN that the foregoing request includes not only notices and papers

referred to in Bankruptcy Rule 2002, but also includes, without limitation, orders and notices of any

application, motions, petitions, pleadings, requests, complaints or demands, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, hand delivery,




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telephone, telegraph, telecopies, telex or otherwise, that affects the above-captioned Debtors, the

Trustee or the property of such Debtors or the Debtors’ estate.

Dated: New York, New York
       January 12, 2022

                                               WACHTEL MISSRY LLP


                                               By:   s/ Jason L. Libou
                                                      Jason L. Libou
                                              One Dag Hammarskjold Plaza
                                              885 Second Avenue, 47th Fl.
                                              New York, New York 10017
                                              Tel: (212) 909-9500
                                              jlibou@wmllp.com
                                              Attorneys for 330 Third Avenue Owners Corp.




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